8 F.3d 31
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Ramiro GOMEZ-GUTIERREZ, Defendant-Appellant.
    No. 93-50143.
    United States Court of Appeals, Ninth Circuit.
    Submitted Oct. 6, 1993.*Decided Oct. 20, 1993.
    
      Before:  BEEZER, KOZINSKI and KLEINFELD, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Ramiro Gomez-Gutierrez appeals his conviction, following a conditional guilty plea, for unlawful reentry into the United States after deportation in violation of 8 U.S.C. § 1326(a), (b)(1) and (b)(2).   Pursuant to  Anders v. California, 386 U.S. 738 (1967), Gomez-Gutierrez's counsel submitted a brief stating that he finds no arguable issues for review and a motion to withdraw as counsel of record.   Our independent review of the record pursuant to  Penson v. Ohio, 488 U.S. 75, 83 (1988), discloses no issue for review.   Accordingly, counsel's motion to withdraw is GRANTED and the district court's judgment is AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.   Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    